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NUV "_77 2018

 

 

 

Avlso DE ACUERDO PROPUESTO y fill
FoRMULARIo DE ELECCI()N DEL ACU]§:RDQN,c ,,U.DWNC

Si estuvo separado de su(s) padre(s) o hijo(s) en la frontera, NOV 0 5 2015

sus derechos pueden verse afectados por 1111 acuerdo de demanda colectiva propuesto.

Se ha llegado a un acuerdo propuesto en las demandas colectivas en relacic’)n con el mecanismo por el
cual ciertos padres e hijos separados pueden solicitar asilo u otra proteccion en los Estados Unidos. Los
juicios son de M.M.M v. Sessions, Caso No. 3: 18-cv-1832-DMS (S.D. Cal.), MMM. v. Sessions, Caso
No. 11 lS-cv-lS35-PLF (D.D.C.), Ms. L. v. ICE, Caso No. 3: lB~cV-428-DMS (SD Cal.), y Dom v.
Sessions, Caso No. 18-cv-1938 (D.D.C.).

;,De qué se tratan estes demandas?

Estas demandas fueron presentadas en nombre de padres e hijos que fueron separados después de ser
detenidos per el gobiemo de los Estados Unidos en o'cerca de la nontera. Los demandantes alegan que
el gobierno de los Estados Unidos no les djo a estos padres e hijos la oportunidad adecuada de busca;r
asilo u otra proteccic’)n contra la expulsion en los Estados Unidos. El juez que supervise las demandas
detuvo temporalrnente el traslado de las familias que se reunieron después de haber side separados en la
frontera. Los demandantes y el gobierno de los Estados Unidos posteriolmente acordaron un acuerdo,
que otorgara a los padres e hijos el acceso a los procedimientos para solicitar asilo u otra proteccic')n
contra 1a expulsion en los Estados Unidos.

g,Quién estzi incluido?

Un padre puede ser un miembro de la Clase del Acuerdo de Padres si él 0 ella:

¢ Es un padre extranjero adulto que entrc') a los Estados Unidos en o entre los puertos de entrada
designados con su(s) hijo(s),

0 Hle detenido bajo custodia de inmigracion per el Departamento de Seguridad Nacional (DHS),

l Tiene un hijo que estuvo 0 esta Separado de él o ella y que se encontraba bajo la custodia del
DI-IS, la custodia de la Oticina de Reasentamiento de Refugiados (ORR, por sus siglas en inglés),
o cuidado de crianza temporal de ORR a partir del 26 de Junio de 2018.

¢ Se le orden(') reuniiicafse de confonnidad con la Orden de la Corte en la Sra. L. V. Estados
Unidos de lnmigracic')n y Control de Aduanas, No. 18-428 (S.D. Cal. 26 de Junio de 2018); y

0 Ha estado presente fisicamente continuamente en los Estados Unjdos desde el 26 de Junio de
2018. '

El acuerdo también reflej a el acuerdo de las partes con respecto a los individuos que se ajustan a
la descripcién de la clase de padres segl'ln se define anteriormente, pero que se eliminaron de los

 

 

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Estades Unides, asi come los dereches de los miembres de la clase de nines (dei"lnidos a
centinuaci(m) cuyos padres han side remoto.
Un nil'lo puede ser un miembro de la Clase del Acuerdo Infantil si:

¢- ?Es,.u_n .,nir"ie extran_jere mener de 18 ar"les de edad a partir de la fecha de vigencia del acuerdo, que
ingrese a les Estados Unidos en o entre los puertos de entrada designados con un padre
extranjere,

0 Fue separado de su(s) padre(s),

o Ha side 0 sara reunificado con su(s) padre(s) baje la erden prelimina;r emitida en la Sra. L. V.
U.S. Inmigracic’)n y Contrel de Aduanas, No. 18-428 (S.D. Cal. 26 de lunio de 2018), y

¢ Ha estade presente fisieamente centinuarnente en los Estades Unides desde el 26 de Juru`o de

2018.

¢‘,Qué alivio properciona el acuerdo?

Entre etras cosas, el Acuerde de Reselucién requiere que, para los padres que inicialmente recibieren un
hallazge de miedo creible negative y tienen una orden final de remocic')n acelerada, el gebierne de los
Estades Unides realizara una revision de buena fe de los hallangS de temer creibles anteriores de les
padre,l que incluye reunirse con un eficial de asilo para presentar informacic')n adieienal. Para los hijes
de dichos padres a quienes se les emitié un Avise de comparecencia (NTA) o se encuentran en preceso
de deportacion, la NTA se cancelara o el gobierne se movera para descartar les procedimientes de
expulsien, y el nine sera celecade en una deportacien acelerada junte con el padre. El nine también sara
referide para una entrevista de temer creible si el nine expresa temor de regresar. Si se descubre que el
padre tiene un temor creible, a ambes padres e hijes se les etc'rgara una NTA para que comparezca ante
un juez de inmigracién, dende podran presentar una solicited de asilo u etras demandas de proteccien
ante el tribunal de inmigracic')n. Si los padres no reciben un ballang de miede creible positive en 1a
revisien, entences el gobieme de los Estados Unidos les preporcienara a sus hijes su prepia entrevista
de miede creible. Si los nines reciben un hallazgo de temor creible positivo, elles y sus padres recibiran
una NTA para que cemparezcan ante un juez de inmigraeien, dende pedran presentar una selicitud de
asilo u etras demandas de preteccic’)n ante el tribunal de inmigracion. Se aplican precedin:\ientes
adicionales 0 de etre tipe cuande les padres y los nji'ios han side liberades de la detencien, cuande los
padres estan sujetes a erdenes de expulsidn reintegradas o defmitivas, o cuande los padres ya han side
retjrades. El Acuerde de Cenciliacién ne preporciona ning\'ln page menetarie a los miernbres de la
clase. Les padres y les mines que entran en estas categories deben leer el Acuerdo de Reselucic')n final y/
o consultar con un abogade para cemprender qué derechos pueden tener en virtud del Acuerde. Si se
aprueba el Acuerdo de conciliacic')n, se prehibira a les miembres de la clase que busquen cualquier otra
medida cautelar, declarateria o equitativa relacionada con la inmigracic')n e el asilo relacienada con las
alegaciones fermuladas en estas demandas. Todes los tenni`nes del Acuerde prepueste estérl sujetos a la
aprebacion del Tribunal en una "Audiencia de Aprebacion Final" que se explica a continuacien. Se
adjunta una cepia del Acuerde de conciliacien a este avise.

 

l “Miede creible” se rei`lere al procese mediante el coal los individuos sujetes a ima remocien acelerada pueden
buscar asilo en los Estados Un.ides, en el cual un funcionario de asilo del gebierne de los EE. UU. puede establecer un temor
creible de persecucien o torture si sen devueltos a su pais de erige11. Si el extranjero recibe una determinacion de temor
ereible positiva, él e ella puede presentar una selicitud de asilo ante el tribunal de inmigracien.

 

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You have the right to object to the settlement

Although you may waive your rights to seek relief under this Settlement Agreement, you cannot
exclude yourself from the settlement I-Iowever, you can ask the Court to deny approval by filing
an objection If the Court denies approval, the lawsuits will continue If that is What you Want to
happen, you must object. You may object to the proposed settlement in Writing. You may also
` appear at the Final Approval Hearing, either in person or through your own attorney All written
objections and supporting papers must (a) clearly identify the following case names and
numbers: MMM v. Sessz'ons, Case No. 3:18-cv-1832-DMS (S.D. Cal.) and Ms. L. v. ICE, Case
No. 3:18-cv-428-DMS (S.D. Cal.), (b) be submitted to the Court either by mailing them te the
Class Action Clerk, United States. District Court for the Soutbern District of Califomia, San
Diego Courthouse, 333 West Broadway, San Diego, CA 92101, or by filing them in person at
any location of the United States District Court for the Southern District of California, and (c) be
filed or postmarked on or before November 2, 2018. ~

 

When and Where Will the Court decide whether to approve the settlement?

The Final Approval Hearing will be held on November 15, 2018, at 10:30 AM (PT) at
Courtroom 13A, 13th Floor, Suite 1310, 333 West Broadway, San Diego, CA 92101, to
determine the fairness, reasonableness, and adequacy of the proposed Settlement. The date may
change without further notice to the class. '

Where can I get more information?

This notice summarizes the proposed settlement For the precise terms and conditions of the
settlement, please see the attached Settlement Agreement, by contacting class counsel identified
belew, by accessing the Court docket in this ease through the Court’s Public Access to Court
Electronic Records (PACER) system at https.'//ecfcasd. uscourts.gov, or by visiting the office of
the Clerk of the Court for the United States District Court for the Southern District of California,
San Diego, between 8:30 a.m. and 4:30 p.m., Monday through Friday, excluding Court holidays

PLEASE DO NO'I' TELEPHONE THE COURT OR THE COURT CLERK’S OFFICE
TO INQUIRE ABOUT THIS SETTLEl\/[ENT.

 

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Who represents the Classes?

Proposed Class Counsel for Parent Class
(Parents in the United Srates):

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Sin`ne Shebaya
Johnathan Srnith
MUSLIM ADVOCATES

Simon Y. Sandoval-Moshenberg
Sophia Gregg
LEGAL AID JUSTICE CENTER

Proposed Class Counselfor Child Class:

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Zachary W. Best

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Fax: (202) 637¢591.0

Proposed Counselfor Removed Parents:

familyseparation@aclu.org

Lee Gelernt

Judy Rabinovitz

Anand Balakrishnan

Stephen Kang

Spencer Amdur

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FOUNDATIO_N

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` New Yori<, NY 10004

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Fax: (212) 549~2654

 

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Usted tiene el derecho de renunciar ala exenci()n en virtud del acuerdo.

Los padres o hijos que deseen renunciar a sus derechos en virtud de este Acuerde de Conciliacion y ser trasladados
sin demora a su pais de origen, tienen derecho a hacerlo mediante la ejecucien del siguiente formulario. Cualquier
decision de regresar a su pais de origen debe tornarse afirmativamente, a sabiendas y voluntariamente. El hecho de
no devolver este formulario no se interpretara come una renuncia a sus derechos en virtud del Acuerdo de

Conciliacic')n_

Instrucciones: Este formulario debe ser leido al miembre de la clase en un idioma que él/ella entienda. El miernbro
de la clase debe indicar qué opcic')n esta eligiendo al firmar el cuadro correspondiente a continuacic')n. Si el miembro
de la clase es un nine y carece de capacidad o es menor de 14 anos, este fonnulario debe ser firmado per el padre o
representante legal del nir”lo. Se deben completar formularios separados para cada miernbro de la familia. Los
formularios completados deben enviarse par correa o per correa electrénico al abogado para la clase propuesta
apropiada que se establece a eontinuacién._ 7

 

Solicito permanecer en los Estados Unidos para buscar alivio de remocion. Entiendo que el acuerde de
demanda colectiva no garantiz que recibiré alivio de la elimin ion.

Nombre (enletr de m : Fr~,»;m/ *\°¢-o%€,é'lam ,Q,Fé(/DSO /¢Z v’/Hédi_r

Firma: dir U§§ l/\VW@; =') '

cl
-`

Estoy solicitando de manera afirmativa, deliberada y voluntaria mi traslado a mi pais de origen 10 antes
posible. Entiendo que estoy renunciando a cualquier derecho a pennanecer en los Estados Unidos para seguir los
procedimientos establecidos en el acuerdo, incluide cualquier derecho a solicitar asilo u otra proteccidn contra la

 

 

expulsion
Nornbre (en letra de molde):
Firlna:

 

 

 

 

 

Tu informacion: _' .
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Centro de detencic’)n (si es aplicable):
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Numero de teléfono: f é/-=;") ‘§/~// --/g€>` ?'Z s

Nombre(§) del padre(s.) / hija($); __:7";.°3 ¢_/,'[/;am A‘an/Fa fev;¢m&
Padre(s) /_hijo(s)_A #(s): ’ 2/5_`¥;1.?" 6 B’F'

Domicilie del padre(s) / hij O(S)Z 757 737/57 6/% S`P/l€ ¢O/J'*

Teléfono de padre(g)¢/ hijo(s): f a/s~) j #//-» 3 ér- y 7 .

 

Certilicaci()n de Abogado: Yo represento (nornbre) en su proceso migratorie. Le he
informado a él / ella (y /' o su padre / madre o representante legal) de sus derechos en virtud del acuerdo de demanda
colectiva propueste en (idiorna).
Firma de abogado:
Nombre de Abogado:
Fecha:
Nl'lmero de teléfono del abogado:
Domicilio del abogado:

 

 

 

 

 

 

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000 how 300 bmw 25 3000 000 00300@00:»3 33 00 ZH>. 1500 03.330 25 30
000030_ 00 30 000000~0 0000000000 00300 w G.m..-. m Mow.moAS. 00 30 000000.0 00033~0
300 0030330030 003030 00®03<0, Cmn~w 23 000000 30 033 332030.=2 000
00033”0 0000. 1030 00300 23 30 00:00.030 3 00030303 3 30 0330~30%0 000333
300 330<002 000 000<30 300.3002 00 3030~0 00 30`0330_?03. 3 000300 3 002
303.0000~ 033 30 033&005. 000000~ 000 30 033 23 30 0000330 3 3000 30
330<32 3 000000 03000 HOm 003:0300 3 moon 033 300 3-_000000 0003030300
2003 00<00003~ 33000 000:§ 0000&€ 00 000003000 30 3. 0003€ 0330®,
00000_®000300v 00 000000 003030, 3 2303 0000 000000~ 23 30 ..00003030 3
00030303 3303000.00=<“ 00 303 00 3 300 000 00_00000003@ 332 30 0000000 000
000 030002 0000.000000 mm 00 00 0000000 3 30 m0<000303.

m.

000 §0. w 0300 _0033000 230 03 0_.0.0003% 00§.000~ 233 303. §§§ 00300 3000
303300 033&000@ 00 00 HOm mm/G 050 000 0030.000 3 330330_ 000000 000030¢0_~ am
23 3333 mw 0000000330 3000 m00300 pmm 030300, 30 3300 03305.003 0000 0
003:300.300 300 30 03:0_ 200 330:00 0000¢03000 2333 § 320 00 005 000 ooo
00300 00 30 300000. U003m 3000 0000000330, 30 03300000 23 30 00000000 000 m
000&33 0000 003:030000 30 30 0330_@.05 0000000, 00 300 033003~ 0000039 0 0000 00
000_.0.0. 03300 30000€ 00 3000®3 000000_. 1030 000333 0000 033 23 300 30
000030000 3000 30 00050_0_0_00 00 m O.m.w. m mow.wo“ 00 00000300 030<0. CmOHm 23
000.300 30 03&3_0 0000 330<32 00 30 03300000@ 3 0000030_.,30 233 m 000 00003
3202 00 30 00000003_0 0000 3300030030 000 30 0000000 3 0030330 230300
0000003000300 00 30 00m0.340 000.000033 0000 0000330303 30 200_.0030.

EmOHm 23 00<32 3_0 00300“0 0000 003 30 30030300 000<303 000 00300030
230300 30 33&03& 300 0 000000033 300 00 00000003.00 00 30300. m00 30 3330
0§000 00 030 00&03000 3000300».. Cmgm 23 0000_0 23 30 3&<300_ 303 000
00&3003 0000.®030033. 30 30 33030& 300 03003 002 00 030-3003
300030300 00 030 300v 233 30 0003000000 00 30 33<30&“0 000000~ 3.000000
00_000 am 00303300 3 moog 033 300 3.000000 0003030300 30 300000300.3_0 00
2003 00<00003 3002 0003€ 0000:.2 00 000003000 000 3 00032 03003@.
0000.@.0.0300v 00 000000 0030_.00. 3 2303 0000 00¢0000 23 30 003300 3
0030303 00~0030300:0, 000<300 300 000000~.0 030000000 30 00 00 0000000 3 30
30<000000» 000 0000 000 00000000_032 332 30 0000000. 3 0030333@ 230300
002 000303 30000…03000.00 .3002000 30 0033& 330&02 000 30 003000003 0000.
mw3003m 3000.00 30 000&3~3&\ 00 30 00300. 030 00003000300 23 30 330 3 30
002030_0%00~ 033, 00 30 000000 00 30 300 00 30 333 330<32. 00 30 0030:
003330300 300 30 00 030 000 3000 30 0000000330 300 03003=.0d 00 3 30 00000300_ 00 m
O.m.F @Nom.wo@v 300 UIm 23 3000 30 000000 3 2033033.0-003 00000003®0.
1030 00003 23 30 003300 3 000303000 3 30 0330~000%0 000333 0000 330<32
000 000/30 300.303 00 3030~0 00 30 03300303 3 000300 3 000 3030000< 00000
30 0330©.03. 000000~ 00.0 30 03:0 23 30 0003§00 3 3000 30 330<32 3
000000 03000 am 003:0300 3 3000 003 300 3-_000000 0003030300 30
3300003003~0 00 2003 00<0000_< 303.000 000300_ 000le 00 000003000 030 3 00030<
03030®“ 0003@.000.300. 00 000000v 3 2333 0000 0_00000~ 233 30 003500 3
00030303 00300~.00000003~w 00 300 00 3 0000 000 00300.0003€ 332 30 0000000 000
000 03300 0003000000 00 00 00 0000000 3 30 30<0003000.

30 30 00003.0 03&3~0 0000 00 00000003~0 0000 3003@ 00_0030 00303<0 0000 3202o
CmOHm 25 003000 30 30003 3 233@ 300 C.mgm 3003000 3 000000300 30
03.033 00m0.3<0 0.00333 0000 00 000000033 0000 3030330300. H0 30 033 0000300
0 0000003 00m03<0 03&33 0000 0000:30030? 30 03=0 330 0003 3202 32 00
3000300000 0.0000. _

 

0 030 wm00000000 300 000 3003 30 333 00 §0. h 0_0003033000 233 0030330 000000
00 3000<0~ 230 000 000 003300 3 000000 000 0<03030_000000 00 0003 00 00000 000_00
030"3® 32 000 003.30.0 3 000300Q 3000 000300. .

 

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m. 5000 00000000 00 90 00<50€0 095 5900$0€0 00 0000900 50000000 095500 05.:.50000

500005900 50 950 500000005. 90 00<09909 09055 5000<50 90 500009 005500 0955 259
90 0050909.00 900 50 9090555~ 5000<50500.5 000 00005950 0000 5900<50§, 005 09055
000<50 05 50005 m 5000. 000500 00 909 0050900500. 205500 00 90 005090050= 09055 90
000<5005 00 50500 900 m 5000 00550¢<9® 90 00009 00&00 055¢0 00009500 00 0
500_.500000 005500900 950 00 900 5005050= 52._00009 00 0000®0059 m 00 950 0m000909.
005 90 005500 09055 00000 90 0000000 00 90 050500 50050900500 000 00 5900<.500< 00
00<5055 05 90 5050, 0590“ 005 50000500 00 90 005090050=. 509 00<50€0 000
5900<50€0 2555 90 000050000 00 50005 am 90_.=.0 00500 90 0050_90.0500m 259 500
000050000500 m_.<00 00 000 0000000950 000500000 00 00009=0 90 5900<50.&. 15.90 900500
005 0590 0005000 000005905 9 950 0000®0009 555 000 059550 50 0 500009 00559005<05<
0090000. 9 2055509 905 90 00<50<0 00 5900<50€ 990 505000 00 09 0000055005 90050.

9 90 0000 00 0 500009 005 0955®00© 909 50 mw 00000090@0 9500 90 50000000
000005905 090<0w 50 05900 90 00009 00 90 0955 00009550900 0 00005950 0000 00
00000009.00 00 000900, 55QO 2555 50000 2.5,>0 00 909 500009 005 0955 095 05000 90
00955% 505 m00.0509 who 0090<05 5000000090®0. 990 w 0.50.5~. @@ wom.woAD 900505<0
0009950 0000 550050® 90@0 90 Cm05m9 Scw.wcAmXUQéhmv 5000505<0 00055950 0000
0990@ 9050 90 5995®005500 55005.

9 90 0000 00 0 00009 095 0955®.005 909 9 mw 00000090m0 9500 90 0000000 _

500005900 090<0v 50 990 00 90 00959 000009000 00995509 00055950 0000 00 0000000900
00 003=00 505 50 90 00.00 00 0 055 590 0005»0 00<50$. 00 90 000055950 0000 5.9055um 950
09 5095@005500__ 0.00@0“ 909 959® 50 00905 905 00 5995®005500 95®09 90 mw
0005000 900 5000050055000550 90 0000000»5.

50 90 0000 00 0 000000 590 50 0090.000 8 0 00500§0.5 00000 00 0090<05u 50 90
09550003 00009:0900 00055950 0000 05 90 500009 5000 000 000095509 0 0000000950
0000v 90 0955~000@ 2005 90 05000.5 9 m0099 who 0090<05 000000050@0 05 90
500009 2005 00 900 990 90 009.5000 8 00950:0_5 500095005 00 0050000v 50 UEm“m
5500000500. 0000500005 259 50000®0009 0 90500<. Umm 2555 000 0090<0 0 50 9 05000
909900 290 00005<0.5 0 90m005<0 00000=0950 0000 550059.0. 2550 950 00 900 555
0000005 05000 909900 0955 0000 900:09 90 0009950 0000 50000000 099 50 050505500950.
m000500_ who 0090<05 0000000550®0. 50505005000 0000000“ 90000<00v 900 0090<05 00 000
50 h 05000 909900 959 0 009050505 0090<05 000500 9500 950 09000909 50
05®055."0095% 555005< 00 00000 9 90 0000000955\ 00000000950 0000.0 000 909 50 0 500009
950500 50005 50000009000 090:00090 9050 0099:005 00009500. Umm 90<
59900550505% 000000.5 259 900 50 9 05000 909900,0 0099.005v 0090005000 00 000
95._.9005<0 0005000 500:005 9 50. 9 005 5559»0.w 5000<5005 900 Umm 905<00 90 500009 00
50000 0 50.<% 05<00_00 905500 00 90 500009 900 90 00 090...<5= 90 0090<00.

50 90 0000 00 0 000000 990 50 0090.005 00 0 0050050505 00500 00 0090<05“ 50 90
0955©.05 00009559 0009950 0000 095 90 500009 00509550900 0 0000000950 0000v 90
09559009 2005 90 500.005 2.0>0 005 5050005 50 m000500 who 0090<05 000000550,00n
05 90 00009 5005 90 00000000 000 505990599-09< 500000059®0 50000:00: 50 m
O.m.W. @@ 5~90.£35~5 05 5~00.0:00.

50 0 50 9. 05000 909900 290 50 090095< 050000.005w 50 00 50m 300 259 950 00 900
555 0m0000 05000 909900 0955 50 0095.000 50 0 55005 0090<05 00500 500¢05 50
5000000059®0 000900005 9000 m00559 59 5900 900 0 00900000.5 05005 05 90 0955 50
00 0005<50_® 05509 00 900 5:505055% 0000..90000,5 950 Umm 259505 505 505 00 005 090 500
95500 00 90 9000500. HOm 00005 50_5050»0 mm 500000090®0 55000 m00500 pmm 0905000 90
0955 999 15 5000 00 90 OoEim 00000<05 00 950 0®000909, 005 00000 90 0955 000 0
00055950 0000 5900<50€. ¢<9550 90 5905 00500 50000050 2005 000 90 0 005_ 50 90 055£
00005950 0000 05._._.550005005w 90 00009 €005 90 0<0550950 00 0000_.9 259 005 000505 90
0955 9 90 000000 00 900 0000000. .5.90 500009 2005 90 0095=05 00 00005050000 9 90
09550000%0 00055950 0000 50000<50<< 005 000<50 500550:05` 00 909050 00 90 09559.09v
505 0550500_ 00 92 00055903 0009 90 09550003. 009005 000 90 0955 2555 90
5000950505 00 050005 90 5900<50€ 9 5000000_. 00 529 00 50 5000 900 90000.00095< 5050<
90 0000000 095 000 09090.< 00050000500 50 00 00 0000000 00 90 90<000_909. 000 90
0599.0 00 90 5900550¢< 2555 90 9 0000000000 259 0000m0059 5.m. 090<0. 50 90 0955
0099550900 0 0009950 0000 00 0000000509 00 000900n 95me 2555 05000 90 0955 9
m005500 50 0090<05 5000000...9.0&0w 05 50m 0<555 90<0 000 0000009m 00 90 00009“0
500500 0090<05 50000000550®0 05 00000550_509 00 90 500009,0 0000 259 90 0955.0
900000 90 590900»500 0003_ 50 90 0955 5000 000 000095509 0009.9~0 0000 00
000000950= 00 905000u 90 0090<05 0005000 900 5990550005< 90 00009005.

50009500 005 000505< 500505000 000 055000 00<0000 950 950 0500_ 2555 90 9000
000050009 259 UEm.m 0090055500 9000 m0005000 N.G“ 39 000 war 05 90 00.500
900990 559 500500 W0000n59m m00500 00 1090 00:00“0 50005509000 9500_00509 9
50 9. <. 00va Zo. 509 nm.U. 005 A>cm. 59 553 AmOm 505 00000@909@ 900
05000 9099000 900 90 000505000 50 090000 090900 00 905<0 9050 009 05®90 000 00 90
000000000 5,.009 9050 95000 0955&000& 00 00 205<0 9050 09550©.09“0 05®550 9500 90
5050000 m000509000 >9000909 50 90 005000005“ 905090@ 90 05m900 559 00@005 8
05000909 9 90 50000 000005005<0 000050® 0000000500_0 50 90 9900“0 0m0 005 0000505
00000“ 005 90 505 00 0050000 00 050000009 9 0 :55000005 000®009.=5.

50 9 009005, 555 00.9005v 00 bo§ 009005 900 5095@ 05000 9099000 590
259 50 905<0 90 00000050000 000005900 900050 000 90 00090»50 0090<0.5 00 9050
00090< 00 005050. 50 9 009005“ 555 0059005h 095 bona 009005 2555 500090050
50<05050 0 0000000 000 090050_50_0 005 500090950.0 0009 0 090500 900:09 0 9000<50®
095 <0500000< 205<00. 000095090 555 000 09m0m0 959 05000 9099000 00 909
9000000. 99 555 00050 50 000009000 909 205<00 00050500_0 50900._ 00990050000.5 005
5000909005 950 50 h 00.9005v 555 00_9005. 00 005 0000005. 05000 9099000
900 05900 000000 90 005500 500005900 9 950 0m000909 00 05000 000905 00=00<05, 99
900 000 00090 000 0900 599®00059. 00 00<59-00_0000 500.59005<0v 00050005.0055g 00
0.50550950 005500 9000_5 055 90 0550®005000 00 050590 9000 50 050 00 90 50 90 555w
00 down 009050590 505 9 000 00_.500 000009m 00 00 90 5000 950 50500 50 005000<00 90

 

0 1950 00000909 5000 02 590000 90 09555Q 00 50 9 05000 9099000 259 955 0090<05
005000 500=05 9 w000500~ who 0090<05 50000000509~0v 0900 900 0 00500_5000.5 00500 00
0000_0<05. 005 590 000 000 50005000. 00 5900=0 50055<5005 050500050 00 909 005000 5500
09.0550_® 505 905 0=9.5005 50 090=0QQ 990 500050050 000 090550=m5nm 050 909 00500.

 

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30 OoEr 303&3@ mSEBQ 0335. dam mm~00303 300 3d wm.mnd 30 033 o». 550
h 2000 303_~_0~.0 3 momw 3350333 330 30 33 NP w_..:m §0=333 gsbosom
3 39 h.

53 333 e*. _.03=<0; E:.E:m 3 30 E=#£_ m330..

1230 mo<0330:" 300 non 333 3. 33 300 : mm~00 3. 333 05~ 33040@ 3033 3
30 933 332 o~. 3 30533 03 333 ow 303 330<03 mm§:w. 190 2330
330 non 3 333 ma :.mE oh 033 am 0030<0& E:.g$ 3 333 3 30 CEB@
m§om 030~. 33 00 300300=< mo» 33 3 33 wm_.mm§ww. Em3nm.m. 00§00~ 33`
330 33 30 mo<0_.=303 3&<3¢0_ 3000 3 233 303&».% noEEB ¢0=0<00 30
333 o». w 333..__2 3330& §. h 033 30=30~. ES` 30 2§3@. 1332qu
00:30~ ~0?.0003 33 30< F0mn<0 §§ 233 3333st 3000 €E 50 33 won EEES_
03 33 30< 320 no 353 30 w0:0<3m 33 wang 3&&»30~ 3000 $E 30 030_. 33
33 3a EEEB. Em3m&.w. 00350~ wm:wo 3 30003 EE 253 3500v 303&§ 0.=
0¢3030 33 2003 EB 003@30_.03 E~ 30 mo<03303 333 wo §§ ow 30
033<& &, 33 0@,00303. 3 mme 30 E&:mmmm. oossm&,w 3300053~3= 33 303
3000 23 ,u0 33 35 EEE.E_. 50»03030 mm30 3 36<30 w 363 3 §§ 300
3000303 5 303&.% 533 mo 355 ow 30033® §m:&m.m. 00£»0.£ 3 00=0.30_. 30
00@0. m30§ mm 300§005 02 303 _.»0~.03o 30 2032 mm~.00 33 0323@ §§
0323® _»3003~.00“ EE 30 Ooc:-mw§.o<nm BEmmnmzoc 23 ma&@mm m= 3330$
33 303 3333 on 303 03§.03 §§ 329

¢<E._ 3309 3 333 333 3000 303¢03 23 m00w EHEB 33 irc 320
33040@ 2335 30 mo<.w_.=BoR mm30m 39 3 03300 wonn$$ 33 30 _.030<0@
333 03330 303.30§ 3 0<30_30 3~0@_3_.30=% Q. 3 simon 3 30 035.0
00<33 E. 330§~ 330003~®0 3a 33 am §330§ avu0wlzm 3 333~.§35
025 3 €E 53 ov._._wo» 3 30 333033 o». monsBonSQ 0<30¢00 933 mm
03300?09 3030@» 00 mmx_w@ 303303& E.o&&wa _~Q 30 330<0@ 333 as 30
mSEEm 33 303 30303§ 043030 300 mo~ 3000 3 elmde mmm=m§n on 3 non
§ 3333 33 imm H0m0~.<0m 30 umwa 3 QE.00H emma on 030~. m._.oc=am¥ 93 hmw
§= 33 og.mn» 3 3_0~3030 30333335 g 30 333 3 30 §>§E mm_.00m 3000
303-0} mmomom who ,,0§0<& 93000&:®¢ 3333 309 90 0=0¢ 305 30 E. 300
_0mm_ ~0?.00053»30. mm munznm§& 333 033@130 3333 3 30 303®33:
330 3 UR.EK 33§330 30¢:33< 3 ma<§o.w ow w=w. 333 333®. 33 30 0=05
wm ~.0%0§3_0 3d §o<§_bm 009.§.3 00302 33~303¢ 3 333 30 33333.0:
330 3 333 00530~ ¢<E.. 30 333 3a 33 30 030=`".0 30<0:03=€ 33 WEJ\
003033=0 o~. 030,. 30303®3£ 330&303$ 33 son 320 mm 30 355 3_.
nigqu 0030@&03 300».3§. 903 30_,~.&0_.0v 320<00_ 0000@.3~0 33 am 3a _3

oo=m.o_ o<Q, 30 30333@% o~. ~om;mnm am 30 mx0nas<0 Om._o_w 3~ HB_.EU.NEQ=
N0S02.

 

h mod 33 333 am 33 0®30303_ 30 0_0300 03 30 330 mm 3 30303 ~ 0¢0<0 0302
33 30 33_.330=$ am 3333§ nr§mnm_ 3000500 3 30 233 m§nm 3 non mvn:.. 3
930 333 am 30 mm~.0030:r 0300 33 0003= 03_.0$3 BBQ<S 3335.

Case 3:18-cV-OO428-DI\/|S-|\/|DD Document 309 Filed 11/07/18 Page|D.4762 Page 11 of 11

                     

 

 

 

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